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                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                      CLARKSBURG

 UNITED STATES OF AMERICA,

                         Plaintiff,

         v.                                            Criminal Action No.: 1:20-CR-60
                                                       (JUDGE KEELEY)

 MICHAEL C. MEADE,

                         Defendant.


                           REPORT AND RECOMMENDATION
                      CONCERNING PLEA OF GUILTY IN FELONY CASE

        This matter has been referred to the undersigned Magistrate Judge by the District Court for

 purposes of considering the record and the Indictment and the proposed plea agreement in this matter,

 and conducting a hearing and entering into the record a written report and recommendation

 memorializing the disposition of Defendant’s guilty plea, pursuant to Federal Rule of Criminal

 Procedure 11. [ECF No. 33]. Defendant, Michael C. Meade, in person and by Counsel, L. Richard

 Walker, appeared before me on May 24, 2021 for a Plea Hearing to an Indictment. The Government

 appeared by video and by Assistant United States Attorney, Danae DeMasi-Lemon.

        The Court determined that Defendant was prepared to enter a plea of “Guilty” to Count One

 of the Indictment.

        The Court proceeded with the Rule 11 proceeding by first placing Defendant under oath and

 inquiring into Defendant’s competency. The Court determined Defendant was competent to proceed

 with the Rule 11 plea hearing and cautioned and examined Defendant under oath concerning all matters

 mentioned in Rule 11.

        The Court next inquired of Defendant concerning his understanding of his right to have an

 Article III Judge hear the entry of his guilty plea and his understanding of the difference between an
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 Article III Judge and a Magistrate Judge. Defendant thereafter stated in open court that he voluntarily

 waived his right to have an Article III Judge hear his plea and voluntarily consented to the

 undersigned Magistrate Judge hearing his plea. Defendant tendered to the Court a written Waiver

 of Article III Judge and Consent to Enter Guilty Plea before Magistrate Judge. The waiver and

 consent was signed by Defendant, countersigned by Defendant's counsel, and concurred by the

 signature of the Assistant United States Attorney.

        Upon consideration of the sworn testimony of Defendant, as well as the representations of

 his counsel and the representations of the Government, the Court finds that the oral and written

 waiver of an Article III Judge and consent to enter a guilty plea before a Magistrate Judge was freely

 and voluntarily given. Additionally, the Court finds that the written waiver and consent was freely

 and voluntarily executed by Defendant Michael C. Meade only after having had his rights fully

 explained to him and having a full understanding of those rights through consultation with his

 counsel, as well as through questioning by the Court. The Court ORDERED the written Waiver and

 Consent to Enter Guilty Plea before a Magistrate Judge filed and made part of the record. [ECF No.

 38].

          Thereafter, the Court determined that Defendant's plea was pursuant to a written plea

  agreement and asked the Government to tender the original to the Court. The Court asked counsel

  for the Government if the agreement was the sole agreement offered to Defendant. The Court asked

  counsel for the Government to summarize the written plea agreement. Of particular importance,

  during the summary of the plea agreement, counsel for the Government noted that the date on the

  first page included a typographical error and should read “April 16, 2021” instead of “April 16,

  2020.” Defendant and Defendant’s counsel recognized this was in error. The undersigned, at the

  direction and consent of the parties, made a handwritten amendment to the plea agreement tender


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  so the date on top of Page 1 reads “April 16, 2021.” Counsel for Defendant and Defendant stated

  that the agreement as amended and as summarized by counsel for the Government was correct and

  complied with their understanding of the agreement. The undersigned further inquired of Defendant

  regarding his understanding of the written plea agreement. Defendant stated he understood the

  terms of the written plea agreement and also stated that it contained the whole of his agreement

  with the Government and no promises or representations were made to him by the Government

  other than those terms contained in the written plea agreement. The Court ORDERED the written

  plea agreement be filed and made a part of the record. [ECF No. 37].

         The undersigned then reviewed with Defendant Count One of the Indictment and the

  elements the Government would have to prove, charging him in Count One with Unlawful

  Possession of a Firearm in violation of Title 18, United States Code, Sections 922(g)(9) and

  924(a)(2). Subsequently, Defendant Michael C. Meade pled GUILTY to the charges contained in

  Count One of the Indictment. However, before accepting Defendant’s plea, the undersigned inquired

  of Defendant’s understanding of the charges against him, inquired of Defendant’s understanding of

  the consequences of him pleading guilty to the charges, and obtained the factual basis for

  Defendant’s plea.

         The Government proffered a factual basis for the plea. Neither Defendant nor his counsel

  disputed the proffer when given the opportunity to do so. Additionally, Defendant provided a factual

  basis for the commission of the offense. The undersigned Magistrate Judge concludes the offense

  charged in Count One of the Indictment is supported by an independent basis in fact concerning

  each of the essential elements of such offense, and that independent basis is provided by the

  Government’s proffer.

         The undersigned then reviewed with Defendant the statutory penalties applicable to an


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  individual adjudicated guilty of the felony charges contained in Count One of the Indictment and the

  impact of the sentencing guidelines on sentencing in general. From said review, the undersigned

  Magistrate Judge determined Defendant understood the nature of the charges pending against him

  and that the possible statutory maximum sentence which could be imposed upon his conviction or

  adjudication of guilty on Count One was imprisonment of not more than 10 years, a fine of not

  more than $250,000.00, and a term of three years of supervised release. Defendant also understood

  that the Court would impose a total special mandatory assessment of $100.00 for having been

  convicted of a felony offense, payable within forty days of the entry of his plea. Defendant further

  understood that his sentence could be increased if he had a prior firearm offense, violent felony

  conviction, or prior drug conviction. He also understood that he might be required by the Court to

  pay the costs of his incarceration, supervision, and probation.

        The undersigned also inquired of Defendant whether he understood that by pleading guilty, he

  was forfeiting other rights such as the right to vote, right to serve on a jury, and the right to legally

  possess a firearm. Additionally, the undersigned asked Defendant whether he understood that if he

  were not a citizen of the United States, by pleading guilty to a felony charge he would be subject to

  deportation at the conclusion of any sentence; that he would be denied future entry into the United

  States; and that he would be denied citizenship if he ever applied for it. Defendant stated that he

  understood.

        The undersigned also reviewed with Defendant his waiver of appellate and collateral attack

 rights. Defendant understood that he was waiving his right to appeal his conviction and sentence

 to the Fourth Circuit Court of Appeals on any ground whatsoever, including those grounds set forth

 in 18 U.S.C. § 3742. Defendant further understood that under his plea agreement, he was waiving

 his right to challenge his conviction and sentence in any post-conviction proceeding, including



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 any proceeding under 28 U.S.C. § 2255. Defendant understood, however, that he was reserving

 the right to raise claims of ineffective assistance of counsel or prosecutorial misconduct that he

 learned about after the plea hearing and agreed that he was unaware of any ineffective assistance

 of counsel or prosecutorial misconduct in his case at this time. From the foregoing, the undersigned

 determined that Defendant understood his appellate rights and knowingly gave up those rights

 pursuant to the conditions contained in the written plea agreement.

          The undersigned Magistrate Judge further examined Defendant relative to his knowledgeable

  and voluntary execution of the written plea agreement and determined the entry into said written

  plea agreement was both knowledgeable and voluntary on the part of Defendant.

          The undersigned Magistrate Judge further inquired of Defendant, his counsel, and the

  Government as to the non-binding recommendations and stipulations contained in the written plea

  agreement and determined that Defendant understood, with respect to the plea agreement and

  to Defendant's entry of a plea of guilty to the felony charge contained in Count One of the

  Indictment. The undersigned Magistrate Judge informed Defendant that he would write the subject

  Report and Recommendation, and that a pre-sentence investigation report would be prepared for

  the District Court by the probation officer attending. The undersigned advised the Defendant that

  the District Judge would adjudicate the Defendant guilty of the felony charged under Count One of

  the Indictment. Only after the District Court had an opportunity to review the pre-sentence

  investigation report would the District Court make a determination as to whether to accept or reject

  any recommendation or stipulation contained within the plea agreement or pre-sentence report. The

  undersigned reiterated to Defendant that the District Judge may not agree with the recommendations

  or stipulations contained in the written agreement. The undersigned Magistrate Judge further

  advised Defendant, in accord with Federal Rule of Criminal Procedure 11, that in the event the


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  District Court Judge refused to follow the non-binding recommendations or stipulations contained

  in the written plea agreement and/or sentenced him to a sentence which was different from that

  which he expected, he would not be permitted to withdraw his guilty plea. Defendant and his

  counsel each acknowledged their understanding and Defendant maintained his desire to have his

  guilty plea accepted.

          Defendant also understood that his actual sentence could not be calculated until after a

  pre-sentence report was prepared and a sentencing hearing conducted. The undersigned also

  advised, and Defendant stated that he understood, that the Sentencing Guidelines are no longer

  mandatory, and that, even if the District Judge did not follow the Sentencing Guidelines or

  sentenced him to a higher sentence than he expected, he would not have a right to withdraw his

  guilty plea. Defendant further stated that his attorney showed him how the advisory guideline chart

  worked but did not promise him any specific sentence at the time of sentencing. Defendant stated

  that he understood his attorney could not predict or promise him what actual sentence he would

  receive from the sentencing judge at the sentencing hearing. Defendant further understood there

  was no parole in the federal system, but that he may be able to earn institutional good time, and

  that good time was not controlled by the Court, but by the Federal Bureau of Prisons.

         Defendant, Michael C. Meade, with the consent of his counsel, L. Richard Walker,

 proceeded to enter a verbal plea of GUILTY to the felony charge in Count One of the

 Indictment.

         Upon consideration of all of the above, the undersigned Magistrate Judge finds that

  Defendant is fully competent and capable of entering an informed plea; Defendant is aware of and

  understood his right to have an Article III Judge hear and accept his plea and elected to voluntarily

  consent to the undersigned United States Magistrate Judge hearing his plea; Defendant understood


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  the charges against him, as to Count One of the Indictment; Defendant understood the consequences

  of his plea of guilty, in particular the maximum statutory penalties to which he would be exposed

  for Count One; Defendant made a knowing and voluntary plea of guilty to Count One of the

  Indictment; and Defendant's plea is independently supported by the Government's witness, which

  provides, beyond a reasonable doubt, proof of each of the essential elements of the charges to

  which Defendant has pled guilty.

          The undersigned Magistrate Judge therefore RECOMMENDS Defendant's plea of guilty to

  Count One of the Indictment herein be accepted conditioned upon the Court's receipt and review

  of this Report and Recommendation.

          The undersigned Magistrate Judge released Defendant on the terms of the Order Setting

  Conditions of Release. [ECF No. 10].

          Any party shall have fourteen days from the date of filing this Report and Recommendation

  within which to file with the Clerk of this Court, specific written objections, identifying the

  portions of the Report and Recommendation to which objection is made, and the basis of such

  objection. A copy of such objections should also be submitted to the United States District Judge.

  Objections shall not exceed ten (10) typewritten pages or twenty (20) handwritten pages, including

  exhibits, unless accompanied by a motion for leave to exceed the page limitations, consistent with

  LR PL P 12.

        Failure to file written objections as set forth above shall constitute a waiver of de novo

 review by the District Court and a waiver of appellate review by the Circuit Court of Appeals.

 Snyder v. Ridenour, 889 F.2d 1363 (4th Cir. 1989); Thomas v. Arn, 474 U.S. 140 (1985); Wright v.

 Collins, 766 F.2d 841 (4th Cir. 1985); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984).




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         The Clerk of the Court is directed to send a copy of this Report and Recommendation to

 all counsel of record, as applicable, as provided in the Administrative Procedures for Electronic Case

 Filing in the United States District Court for the Northern District of West Virginia.

         Respectfully submitted on May 25, 2021.




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